                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                SHERMAN DIVISION

UNITED STATES OF AMERICA                          §
                                                  §
                                                  §
                                                  §
v.                                                §           CRIMINAL NO. 4:16CR176
                                                  §
JAMES MORRIS BALAGIA (3)                          §


                                             ORDER

       The Court has directed the Parties to file any response to: (1) Defendant’s Amended

Renewed Motion to Compel Discovery [Dkt, 243] and (2) Government’s Motion for Protective

Order [Dt. 246] on or before Friday, February 22, 2019. Subsequent to the Court’s Orders setting

these deadlines, additional filings have been made. The Court desires to take up the totality of the

discovery issues that remain pending between the Parties at one hearing. In effort to do so and

enable the Parties to make all necessary filings in advance of scheduling such hearing, the Court

again extends the response deadline.

       IT IS ORDERED THAT Defendant and the Government shall file any response, as is

necessary, to any pending discovery motion [including specifically Dkts. 200, 243, 246, 252] on

or before Friday, March 8, 2019. To the extent any other discovery issues exist that have not

yet been briefed or filed, they shall also be filed by this deadline. It is further ordered that any

replies shall be due on or before Friday, March 15, 2019.

       IT IS SO ORDERED.
       SIGNED this 15th day of February, 2019.




                                   ___________________________________
ORDER – Page Solo                  Christine A. Nowak
                                   UNITED STATES MAGISTRATE JUDGE
